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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division

 NURU YAKUBU,                       )
                                    )
       Petitioner,                  )
                                    )
              v.                    )        1:11cr199
                                    )
                                    )
 UNITED STATES OF AMERICA,          )
                                    )
       Respondent.                  )

                   M E M O R A N D U M    O P I N I O N

           This matter is before the Court on Petitioner Nuru

Yakubu’s (“Petitioner”) Expedited Motion for Declaratory Relief.

[Dkt. 472.]    For the reasons stated below, the Court will deny

Petitioner’s Motion.

                             I. Background

           Petitioner pled guilty to one count of conspiring to

import a kilogram or more of heroin into the United States, in

violation of 21 U.S.C. § 963.      [Dkt. 389.]    On February 19,

2015, this Court sentenced Petitioner to 144 months’

imprisonment, with credit for time served.        [Dkt. 429.]     On

February 26, 2015, the Court amended Petitioner’s sentence to

include a five-year term of supervised release with special

conditions.    [Dkt. 434.]   The special conditions include: (1)

Petitioner will be turned over to immigration officials for

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deportation or removal proceedings upon his release from Bureau

of Prisons (“BOP”) custody; (2) any illegal re-entry by

Petitioner to the United States will constitute both a violation

of federal law and the terms of his supervised release; and (3)

if ordered deported, Petitioner will not return without advanced

written permission from the Secretary of the Department of

Homeland Security or the Attorney General.        [Id.]

           Petitioner is currently serving his sentence at Rivers

Correctional Institution in Winton, North Carolina.          Mot. at 1.

According to Petitioner, this private, for-profit prison does

not participate in the Institution Hearing Program (“IHP”),

which allows removal proceedings to be initiated against aliens

convicted of aggravated felonies (like Petitioner) prior to

their release from incarceration.       Id. at 7.    For that reason,

Petitioner believes that he will be subjected to at least six

months of additional immigration detention upon his release,

projected to take place on June 30, 2024.        Id. at 12.

           Petitioner filed the instant motion on July 6, 2016,

objecting to the possibility of this additional detention.

[Dkt. 472.]    The Government filed its opposition on September

22, 2016, arguing that Petitioner’s motion could be construed as

either a section 2255 motion, a section 2241 motion, or a writ

of mandamus.    [Dkt. 474.]    Because the mechanism by which

Petitioner sought relief was difficult to determine, this Court


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ordered Petitioner to file a supplemental memorandum advising

the Court on how he would like this motion to be construed.

[Dkt. 475.]    Petitioner filed his response on March 7, 2017.

[Dkt. 478.]    Because oral argument will not aid the Court in its

decision, this motion is now ripe for disposition.

                               II. Analysis

            Petitioner seeks to have this Court declare his

statutory rights pursuant to the Immigration and Naturalization

Act (“INA”), as amended by the Illegal Immigration Reform and

Immigrant Responsibility Act of 1996, 8 U.S.C. § 1228.             Repl. at

1.    More specifically, Petitioner asks this Court to declare his

right to an expedited removal proceeding while serving his 144-

month sentence “so that he can be removed [from the United

States] on the day of his release from incarceration.” 1            Id. at

4.    In the alternative, Petitioner asks this Court to order the

BOP to transfer him to a facility that participates in the IHP

so that he can obtain an immigration determination prior to his

release.    See Mot. at 8.     Petitioner also offers a third option:

compensate him for this additional detention by granting a six-

month immigration departure on his original sentence.             Id. at

12.    Petitioner insists that such requests do not amount to a

section 2255 motion, a section 2241 motion, or a writ for



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  Petitioner alleges that because Rivers Correctional Institution does not
participate in the IHP, he will be unfairly subjected to up to six months of
immigration detention following his release from prison. Mot. at 7.
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mandamus, situating them instead under the Declaratory Judgment

Act (“DJA”), 28 U.S.C. § 2201.      Repl. at 1.

           The DJA is not a jurisdictional grant.        See Skelly Oil

Co. v. Phillips Petroleum Co., 339 U.S. 667, 671–72 (1950).

Rather, its purpose is to allow federal courts to exercise

jurisdiction only in cases that: (1) meet the case or

controversy requirement and (2) present a valid basis for

subject matter jurisdiction.      Dunn Computer Corp. v. Loudcloud,

Inc., 133 F. Supp. 2d 823, 826 (E.D. Va. 2001).         Moreover, “even

where a request for a declaratory judgment meets both of

these requirements, the exercise of declaratory judgment

jurisdiction [still] rests within the sound discretion of the

district court.”    Id.

           First and foremost, a declaratory judgment action must

satisfy the case or controversy requirement of Article III of

the United States Constitution.       MedImmune, Inc. v. Genentech,

Inc., 549 U.S. 118, 126–27 (2007).       To be justiciable, a

controversy must be “definite and concrete, touching the legal

relationships of parties having adverse . . . interests.”           Aetna

Life Ins. Co. v. Haworth, 300 U.S. 227, 240–41 (1937).          It also

must be “real and substantial,” rather than “an opinion advising

what the law would be upon a hypothetical state of facts.”           Id.

at 241.   Finally, it must be “of sufficient immediacy and

reality to warrant the issuance of a declaratory judgment.”


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MedImmune, 549 U.S. at 127.       Such an inquiry is fact-intensive.

Id.

            In the instant case, Petitioner fails to satisfy the

Article III case or controversy requirement due to a lack of

immediacy.    MedImmune, 549 U.S. at 127.        In particular,

Petitioner cannot show the required immediacy because:

(1) Petitioner is not eligible for release until June 30, 2024;

(2) BOP policy does not allow for an inmate like Petitioner to

be transferred to a facility that participates in the IHP until

the inmate has 60 months or less remaining on his sentence; 2

(3) Petitioner is not currently eligible for such a transfer and

will not become eligible until June 30, 2019; and (4) there is

no evidence that the BOP does not plan to request a transfer on

Petitioner’s behalf once he becomes eligible.           “Where, as here,

a declaratory judgment request rests entirely on speculation and

conjecture, there is no ‘sufficient immediacy’ to warrant a

discretionary grant of declaratory relief.”           Firestone v. Wiley,

485 F. Supp. 2d 694, 700 (E.D. Va. 2007) (citing Aetna Cas. &

Sur. Co. v. Ind–Com Elec. Co., 139 F.3d 419, 422 (4th Cir.

1998) (noting that declaratory judgment jurisdiction should not

be exercised when the declaratory relief sought is premature)).




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  Dep’t of Justice, Fed. Bureau of Prisons, Program Statement No. 5111.04,
Institution Hearing Program at 7 (2006).
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           Given that Petitioner’s motion does not meet the

constitutional case or controversy requirement, this Court is

without subject matter jurisdiction to decide its claims.

                            III. Conclusion

           For the foregoing reasons, Petitioner’s Expedited

Motion for Declaratory Relief will be denied.

           An appropriate order shall issue.



                                                /s/
March 15, 2017                           James C. Cacheris
Alexandria, Virginia             UNITED STATES DISTRICT COURT JUDGE




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